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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
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   Michelle Mele, on behalf of herself and all     Case No.: 3:19-cv-06114-BHS-MLP
11 others similarly situated,
12                                                 STIPULATED MOTION OF
                         Plaintiff,                DISMISSAL
13
14       vs.
15 Medical Management International, Inc.
16 d/b/a Banfield Pet Hospital,
17                           Defendant.
18
19
20          The parties to the above-entitled action, pursuant to FRCP 41(a)(1)(ii), hereby
21 stipulate that the above-captioned action is hereby dismissed with prejudice as to the
22 Plaintiff, without prejudice as to the claims of any putative class members and with
23 each party to bear its own attorneys’ fees and costs.
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26 / /
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28

     3:19-cv-06114-BHS-MLP                                   STIPULATED MOTION OF DISMISSAL
      Case 3:19-cv-06114-BHS-MLP Document 28 Filed 05/05/21 Page 2 of 3



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     Dated: May 5, 2021
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 3
 4    /s/ Sarah Stasch                   /s/ David Forkner
      Sarah Stasch, WSBA #26987          David Forkner (pro hac vice)
 5    STASCH LAW LLC                     Marta Chlistunoff (pro hac vice)
 6    33530 First Way South, Suite 102   WILLIAMS & CONNOLLY LLP
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 9    Wilton, CT 06897                   Vanessa Soriano Power
10    Telephone: (253) 253-0539          Jenna M. Poligo
      Facsimile: (253) 253-0701          STOEL RIVES LLP
11    Email: staschlaw@gmail.com         600 University Street, Suite 3600
12    Attorneys for Plaintiff            Seattle, WA 98101
                                         Telephone: 206.624.0900
13                                       Attorneys for Defendant
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     3:19-cv-06114-BHS-MLP               -2-           STIPULATED MOTION OF DISMISSAL
      Case 3:19-cv-06114-BHS-MLP Document 28 Filed 05/05/21 Page 3 of 3



 1                            CERTIFICATE OF SERVICE
 2
            I HEREBY CERTIFY that on May 5, 2021, a copy of the foregoing Stipulated
 3
 4 Motion of Dismissal was served electronically by the U.S. District Court Western
 5 District of Washington Electronic Document Filing System (ECF) and that the
 6
   document is available on the ECF system.
 7
 8
                                             By:     /s/ Sarah Stasch
 9                                                 Sarah Stasch, Esq.
10                                                 Lemberg Law, LLC
                                                   Attorney for Plaintiff
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     3:19-cv-06114-BHS-MLP                -3-               STIPULATED MOTION OF DISMISSAL
